                                                                                Case 3:19-cv-00687-MMD-WGC Document 51 Filed 11/19/21 Page 1 of 3



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                                                                            6    California, Inc.; Pacific West Contractors of Nevada,
                                                                                 LLC; Integrated Design Build Solutions, LLC; Pacific
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                                                                                 Group, LLC
                                                                            8
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                                                                                 Donald J. Burke and Donald W. Burke
                                                                           15
                                                                                                            UNITED STATES DISTRICT COURT
                                                                           16
                                                                                                                  DISTRICT OF NEVADA
                                                                           17

                                                                           18
                                                                                 DONALD J. BURKE, an individual; and           Case No. 3:19-cv-00687-MMD-WGC
                                                                           19    DONALD W. BURKE, an individual,
                                                                           20                      Plaintiffs,                 STIPULATION AND [PROPOSED]
                                                                                                                               ORDER TO DISMISS WITH PREJUDICE
                                                                           21    v.
                                                                           22                                                            [Fed. R. Civ. P. 41(a)(1)(A)(ii)]
                                                                                 PACIFIC WEST CONTRACTORS OF
                                                                           23    CALIFORNIA, INC., a Nevada
                                                                                 corporation; PACIFIC WEST
                                                                           24    CONTRACTORS OF NEVADA, a
                                                                                 Nevada Limited Liability Company;
                                                                           25    INTEGRATED DESIGN BUILD
                                                                                 SOLUTIONS, a Nevada Limited Liability
                                                                           26
                                                                                 Company; PACIFIC WEST SERVICE
                                                                           27    COMPANY, a Nevada Limited Liability
                                                                                 Company; PACIFIC WEST COMPANIES,
                                                                           28    LLC, a Nevada Limited Liability
                                                                                Case 3:19-cv-00687-MMD-WGC Document 51 Filed 11/19/21 Page 2 of 3



                                                                            1    Company; PACIFIC WEST
                                                                                 OPERATIONS, LLC, a Nevada Limited
                                                                            2    Liability Company; and PACIFIC WEST
                                                                            3    OPERATING GROUP, LLC, a Nevada
                                                                                 Limited Liability Company,
                                                                            4
                                                                                                    Defendants.
                                                                            5

                                                                            6
                                                                                       COME NOW Plaintiffs Donald J. Burke and Donald W. Burke (“Plaintiffs”) and
                                                                            7
                                                                                Defendants Pacific West Contractors of California, Inc.; Pacific West Contractors of Nevada, LLC;
                                                                            8
                                                                                Integrated Design Build Solutions, LLC; Pacific West Operations, LLC; and Pacific West
                                                                            9
                                                                                Operating Group, LLC (“Defendants”) and pursuant to Federal Rule of Civil Procedure
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                           10
                                                                                41(a)(1)(A)(ii) stipulate and agree that this action be dismissed with prejudice as to all claims,
                                                                           11
                                                                                causes of actions, and parties, with each party to bear their own attorney’s fees and costs.
                                            5520 Kietzke Lane, Suite 110

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                                                                           12
                                                Reno, Nevada 89511




                                                                                 DATED this 18th day of November, 2021.           DATED this 18th day of November, 2021.
                                                                           13

                                                                           14    BY: /s/ Jeremy B. Clarke                         BY: /s/ Arthur A. Zorio
                                                                                    Anthony L. Hall, Esq.                            Arthur A. Zorio, Esq.
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                                                                                    JClarke@SHJNevada.com                              Contractors of California, Inc.; Pacific
                                                                           19                                                          West Contractors of Nevada, LLC;
                                                                                     Attorneys for Plaintiffs                          Integrated Design Build Solutions, LLC;
                                                                           20        Donald J. Burke and Donald W. Burke               Pacific West Operations, LLC; and
                                                                                                                                       Pacific West Operating Group, LLC
                                                                           21

                                                                           22                                                 IT IS SO ORDERED.

                                                                           23
                                                                                                                              _________________________________
                                                                           24
                                                                                                                              The Hon. Miranda M. Du
                                                                           25                                                 United States District Judge

                                                                           26                                                         November 19, 2021
                                                                                                                              Dated: ______________________

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                                                                            1                                 CERTIFICATE OF SERVICE
                                                                            2        Pursuant to FRCP 5(b) and Section IV of the District of Nevada Electronic Filing
                                                                            3
                                                                                Procedures, I hereby certify that I am an employee of SIMONS HALL JOHNSTON PC, and on
                                                                            4
                                                                                this 18th day of November, 2021, I served the document entitled, STIPULATION AND
                                                                            5
                                                                                [PROPOSED] ORDER TO DISMISS WITH PREJUDICE, on counsel of record through the
                                                                            6
                                                                                CM/ECF system.
                                                                            7

                                                                            8        Dated: November 18, 2021

                                                                            9                                                      /s/ Kiley P. Rasmussen
                                                                                                                                   Employee of Simons Hall Johnston
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